          Case
AO 106 (Rev. 04/10) 2:19-mj-04978-DUTY
                    Application for a Search Warrant        Document 1 Filed 11/22/19 Page 1 of 23 Page ID #:1


                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Central District
                                                          __________  Districtofof
                                                                                 California
                                                                                   __________

                   In the Matter of the Search of                          )
           (Briefly describe the property to be searched or identify the   )
                           person by name and address)                     )      Case No. 2:19-MJ-04978
                                                                           )
    White Nissan Sentra                                                    )
    CA license plate number 7EVM912                                        )
    VIN: 3N1CB51D14L843044.                                                )
    (“SUBJECT VEHICLE”)                                                    )

                                                APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

      See Attachment A-2
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                     evidence of a crime;
                     contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                            Offense Description
        21 U.S.C. § 841(a)(1), 846                                         Possession with Intent to Distribute a Controlled
                                                                           Substance and Conspiracy


          The application is based on these facts:
                 See attached Affidavit
                     Continued on the attached sheet.
        Delayed notice of            days (give exact ending date if more than 30 days:                                    ) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                  Applicant’s signature

                                                                                            Rosemary Ramirez, DEA Special Agent
Sworn to before me and signed in my presence.                                                     Printed name and title


Date:
                                                                                                    Judge’s signature

City and state: Los Angeles, CA                                                      Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                                  Printed name and title
AUSA: Billy Joe McLain x 6702
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                            ATTACHMENT A-2
VEHICLE TO BE SEARCHED

     The SUBJECT VEHICLE is white Nissan Sentra bearing

California license plate number 7EVM912 and VIN:

3N1CB51D14L843044.




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                              ATTACHMENT B

I.   ITEMS TO BE SEIZED
          The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

§ 841(a)(1) (possession with intent to distribute controlled

substances) and 21 U.S.C. § 846 (conspiracy and attempt to

distribute controlled substances) (the “Subject Offenses”),

namely:

          a.    Any controlled substance, controlled substance

analogue, or listed chemical;

          b.    Items and paraphernalia for the manufacturing,

distributing, packaging, sale, or weighing of controlled

substances, including scales and other weighing devices, plastic

baggies, food saver sealing devices, heat sealing devices,

balloons, packaging materials, containers, and money counters;

          c.    Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, carbon paper, rubber bands, duct tape

or wrapping tape, plastic wrap or shrink wrap, and plastic

sealing machines;

          d.    United States currency over $1,000 or bearer

instruments worth over $1,000 (including cashier's checks,

traveler’s checks, certificates of deposit, stock certificates,

and bonds) (including the first $1,000), and data, records,

documents, or information (including electronic mail, messages

over applications and social media, and photographs) pertaining

to, obtaining, possessing, using, applications for, or



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transferring money over $1,000, such as bank account records,

cryptocurrency records and accounts;

          e.    Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with co-conspirators, sources of supply of

controlled substances, or drug customers, including calendars,

address books, telephone or other contact lists, pay/owe

records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities,

and/or times when drugs were bought, sold, or otherwise

distributed, whether contained in hard copy correspondence,

notes, emails, text messages, photographs, videos (including

items stored on digital devices), or otherwise;

          f.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          g.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

          h.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,



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Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;

          i.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs;

          j.    Contents of any calendar or date book;

          k.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          l.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offense/s, and forensic copies thereof.

          m.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,




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as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

          As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.




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           As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICE(S)
           In searching digital devices (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The



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government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

          c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime



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was encountered, including how it was immediately apparent

contraband or evidence of a crime.

          d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

          e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

          g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          h.    After the completion of the search of the digital

devices, the government shall not access digital data falling




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outside the scope of the items to be seized absent further order

of the Court.

           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, test keys,

encryption codes, or other information necessary to access the

digital device or data stored on the digital device.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices



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pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT
      I, Rosemary Ramirez, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT
             This affidavit is made in support of an application

for a warrant to search 8409 Orange Street, Hesperia, California

92345 (the “SUBJECT PREMISES”) as described more fully in

Attachment A-1, and a white Nissan Sentra with CA license plate

number 7EVM912 (the “SUBJECT VEHICLE”) as described more fully

in Attachment A-2.

             The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 21

U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances) (the “Subject

Offenses”), as described more fully in Attachment B.

Attachments A-1, A-2, and B are incorporated herein by

reference.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrants,

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.
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                       II. BACKGROUND OF AFFIANT
           I am a Special Agent for the Drug Enforcement

Administration (“DEA”), assigned to the Fresno District Office,

and have been so employed since November 2003.          During this

time, I have completed a 16-week training Academy at Quantico,

Virginia, as well as several other DEA schools.          This training

included the investigation of violations of Title 21, United

States Code, Sections 841(a)(1) and 846.         In addition, I have

received special training in the methods used by drug

traffickers to illegally produce methamphetamine and cocaine.

I am familiar with, and have participated in, formal methods of

investigations, including electronic surveillance, visual

surveillance, questioning of witnesses, search warrants, working

with confidential informants, pen registers, trap and trace, and

the use of undercover agents.       I have participated in

investigations involving organizations trafficking in controlled

substances.    Based on my experience and the training I have

acquired from drug enforcement schools and from working with

other Special Agents and Detectives, I am providing the

following facts.

                    III. SUMMARY OF PROBABLE CAUSE
           In October 2019, law enforcement intercepted wire

communications, pursuant to a federal wiretap, during which

Carlos Lopez (“LOPEZ”), a drug trafficker, discussed delivering

drugs via courier to Monica Gutierrez (“GUTIERREZ”) in Mendota,

California, so that GUTIERREZ could then deliver those drugs to

a third person.



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           On October 14, 2019, agents conducting surveillance

saw Julio Cesar Moreno Garcia (“MORENO”) arrive in the SUBJECT

VEHICLE and meet GUTIERREZ outside of 1782 9th Street, Mendota,

California 93640 (“GUTIERREZ’s Residence”).         Agents saw MORENO

enter GUTIERREZ’s Residence carrying a full duffle bag.           Minutes

later, agents saw MORENO return to the SUBJECT VEHICLE with an

empty duffle bag; then agents saw both MORENO and GUTIERREZ

separately drive away.      A sheriff’s deputy stopped GUTIERREZ and

found two kilograms of cocaine in her vehicle.

           Around that same time, a sheriff’s deputy stopped

MORENO, and MORENO said he lived at the SUBJECT PREMISES.           On

October 30, 31, and November 1, agents conducted surveillance of

the SUBJECT PREMISES and saw the SUBJECT VEHICLE parked in the

front driveway.    The SUBJECT VEHICLE is registered to MORENO at

the SUBJECT PREMISES.     A United States Magistrate Judge in the

Eastern District of California has authorized a criminal

complaint and warrant for MORENO’s arrest for a violation of 21

U.S.C. § 841(a)(1): distribution and possession with intent to

distribute a controlled substance.

                    IV. STATEMENT OF PROBABLE CAUSE
           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

           On September 19, 2019, the Honorable Lawrence J.

O’Neill, Chief United States District Court Judge for the

Eastern District of California, signed Wire Intercept Order

1:19-SW-00303-LJO authorizing the interception of wire and



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electronic communications for 559-835-7889 (“Target Telephone

22”), believed to be used by LOPEZ.

      A.   Drug Traffickers are Intercepted on a Wire Discussing
           a Drug Delivery.
           On October 13, 2019, agents intercepted a call during

which LOPEZ, using Target Telephone 22, discussed with LOPEZ’s

suspected drug supplier (“Person 1”), in coded language, a drug

transaction by which Person 1 would arrange for a courier to

deliver a suspected drug load to a woman in Mendota, California

on LOPEZ’s behalf.     During the call, Person 1 indicated his

“guy” would deliver the suspected drug load.

           That same day, Target Telephone 22 (believed be used

by LOPEZ), exchanged text messages with the number 559-776-5820,

which is subscribed to GUTIERREZ at GUTIERREZ’s Residence, and

believed to be used by GUTIERREZ.       During the text message

exchange, LOPEZ told GUTIERREZ that “Tomorrow they will go see

you, so you can go to the dealer.”          After GUTIERREZ expressed

some confusion, LOPEZ clarified, “I'm not over there. They’re

gonna take them over there to you.”          GUTIERREZ responded, “Oh,

now I understand. Okay, thank you.”

           Based on my training, experience, and knowledge of

this investigation, I believe LOPEZ was telling GUTIERREZ that

she would receive an incoming drug shipment from someone and

then GUTIERREZ was going to deliver those drugs “to the dealer.”




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      B.     MORENO, Who Lives at the SUBJECT PREMISES, Delivers
             Cocaine While Driving the SUBJECT VEHICLE.
             On the morning of October 14, 2019, agents set up

surveillance at GUTIERREZ’s Residence in anticipation of

GUTIERREZ receiving a drug shipment.

             At about 9:01 AM, agents saw the SUBJECT VEHICLE

arrive at GUTIERREZ’s Residence.       A DMV check revealed that the

SUBJECT VEHICLE is registered to MORENO at the SUBJECT PREMISES.

             Agents saw a male (later identified as MORENO) exit

the SUBJECT VEHICLE and meet a woman (later identified as

GUTIERREZ) outside of GUTIERREZ’s Residence.         Agents then saw

MORENO take a duffle bag, which appeared to be full, from the

SUBJECT VEHICLE and enter GUTIERREZ’s Residence along with

GUTIERREZ.    Minutes later, agents saw MORENO leave GUTIERREZ’s

Residence with the duffle bag, which appeared to be empty;

MORENO threw the duffle bag into the back of the SUBJECT VEHICLE

and drove away.

             Based on the above information, and my investigation

of this case, I believe that the drug shipment LOPEZ was

intercepted discussing with Person 1, and texting GUTIERREZ

about, on October 13, was in the duffle bag that MORENO

delivered to GUTIERREZ.

             Later that morning, agents saw GUTIERREZ drive away

from GUTIERREZ’s Residence.      She was stopped by a Fresno County

Sheriff’s Office K9 patrol.      Following a positive alert by the

drug detection dog, deputies searched GUTIERREZ’s vehicle and




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found about two kilograms that field-tested positive for

cocaine.   GUTIERREZ was arrested on state drug charges.

      C.   MORENO Confirms He Lives at the SUBJECT PREMISES and
           that the SUBJECT VEHICLE Belongs to Him.
           At about 10:33 a.m., MORENO was stopped by a Deputy

Daulton of the Kings County Sheriff’s Office for speeding.

During the traffic stop, MORENO provided two Mexico

identification cards.     The first was a Mexico Consular

identification card, which listed MORENO’s name as Julio Cesar

MORENO Garcia and address as the SUBJECT PREMISES.          The second

identification card was a Mexican driver’s license, also in the

name of Julio Cesar MORENO Garcia, which listed an address in

Sinaloa, Mexico.     Both identification cards contained

photographs of MORENO, whom Deputy Daulton recognized as the

driver and sole occupant of the SUBJECT VEHICLE.          During the

stop, MORENO stated that he resides at the SUBJECT PREMISES,

which is the registered address for the SUBJECT VEHICLE.           MORENO

was released.

           On October 30 and 31, and November 1, 2019, agents

conducted surveillance at the SUBJECT PREMISES, and, on each of

those days, saw the SUBJECT VEHICLE parked in the gated front

driveway of the SUBJECT PREMISES.

           On November 7, 2019, the Honorable Shiela K. Oberto,

United States Magistrate Judge for the Eastern District of

California signed a criminal complaint (1:19-MJ-00211-SKO)

authorizing the arrest of MORENO for violating 21 U.S.C.

§ 841(a)(1): distribution and possession with intent to




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distribute a controlled substance and aiding and abetting.

MORENO has not yet been arrested.

              Based on the above information, I believe MORENO is a

drug trafficker whose primary residence is the SUBJECT PREMISES

and who uses the SUBJECT VEHICLE to traffic drugs.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.     Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.     Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.

           c.     Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,



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sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residence.         Drug traffickers

often keep records of meetings with associates, customers, and

suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

           e.    Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.

           f.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences and vehicles.

           g.    Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residence

or in safes.    They also often keep other items related to their



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drug trafficking activities at their residence, such as digital

scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker’s residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

             h.   It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES1
             Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

             a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have


      1As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain




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software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000



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average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

                             VII. CONCLUSION
           For all of the reasons described above, there is

probable cause to believe that the items to be seized described

in Attachment B will be found in a search of the SUBJECT

PREMISES described in Attachment A-1 and the SUBJECT VEHICLE

described in Attachment A-2.




                                         Rosemary Ramirez, Special
                                         Agent DEA

Subscribed to and sworn before me
this ____ day of November 2019.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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